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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                 CRIMINAL NO. 1:13CR75-2
                                              (Judge Keeley)


DAVEL GODFREY YOUNG,

                  Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY IN
    FELONY CASE (DKT. NO. 28) AND SCHEDULING SENTENCING HEARING

      On November 24, 2015, the defendant, Davel Godfrey Young

(“Young”), appeared before United States Magistrate Judge Michael

J. Aloi and moved for permission to enter a plea of GUILTY to Count

One of the Indictment. After Young stated that he understood that

the magistrate judge is not a United States District Judge, he

consented to tendering his plea before the magistrate judge.

Previously,    this   Court    had   referred   the   guilty   plea   to   the

magistrate judge for the purposes of administering the allocution

pursuant to Federal Rule of Criminal Procedure 11, making a finding

as to whether the plea was knowingly and voluntarily entered, and

recommending to this Court whether the plea should be accepted.

      Based upon Young’s statements during the plea hearing and the

testimony of Special Agent Trevor Nelson, the magistrate judge

found that Young was competent to enter a plea, that the plea was

freely and voluntarily given, that he was aware of the nature of
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the charges against him and the consequences of his plea, and that

a factual basis existed for the tendered plea. On November 25,

2015, the magistrate judge entered a Report and Recommendation

Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 28)

finding a factual basis for the plea and recommending that this

Court accept Young’s plea of guilty to Count One of the Indictment.

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R. He further directed that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R. The parties did not file

any objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R,

ACCEPTS Young’s guilty plea, and ADJUGES him GUILTY of the crime

charged in Count One of the Indictment.

      Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until it

has received and reviewed the presentence report prepared in this

matter.




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      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

follows:

      1.    The Probation Officer shall undertake a presentence

investigation of DAVEL GODFREY YOUNG, and prepare a presentence

report for the Court;

      2.    The Government and Young are to provide their versions of

the offense to the probation officer by December 23, 2015;

      3.    The presentence report is to be disclosed to Young,

defense counsel, and the United States on or before February 8,

2016; however, the Probation Officer is not to disclose the

sentencing recommendations made pursuant to Fed. R. Crim. P.

32(e)(3);

      4.    Counsel may file written objections to the presentence

report on or before February 22, 2016;

      5.    The Office of Probation shall submit the presentence

report with addendum to the Court on or before March 7, 2016; and

      6.    Counsel may file any written sentencing statements and

motions for departure from the Sentencing Guidelines, including the

factual    basis   from   the   statements   or   motions,   on   or   before

March 21, 2016.


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   FELONY CASE (DKT. NO.28) AND SCHEDULING SENTENCING HEARING

      The magistrate judge remanded Young to the custody of the

United States Marshal Service.

      The   Court   will     conduct    the   sentencing    hearing      for   the

defendant    on   Tuesday,    March     29,   2016   at   10:30   A.M.    at   the

Clarksburg, West Virginia point of holding court.

      It is so ORDERED.

      The Clerk is directed to transmit copies of this Order to

counsel of record, the defendant and all appropriate agencies.

DATED: December 9, 2015


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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